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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )
                                                     )             8:05CR364
                       Plaintiff,                    )
                                                     )
       vs.                                           )               ORDER
                                                     )
LESLIE HARNETT,                                      )
RONALD GILLETT,                                      )
                                                     )
                       Defendants.                   )
       This matter is before the court on the motion for an extension of time by defendant
Leslie Harnett (Harnett) (Filing No. 18), the motion for a continuance of trial by the government
(Filing No. 20), the motion for a continuance of trial by defendant Ronald Gillett (Gillett) (Filing
No. 19), and the motion to continue trial by Harnett (Filing No. 21). The motions will be
granted.
       IT IS ORDERED:
       1.      Harnett’s motion for an extension of time to file pretrial motions (Filing No. 18)
is granted. Harnett shall have to on or before November 21, 2005, in which to file any
pretrial motions in accordance with the progression order (Filing No. 13).
       2.      The government’s, Gillett’s and Harnett’s motions to continue trial (Filing Nos.
20, 19 and 21) are granted. Trial of this matter will commence before Judge Laurie Smith
Camp and a jury on January 3, 2006, at 8:30 a.m. in Courtroom No. 2, Third Floor, Homan
L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
       3.      The ends of justice have been served by granting such motions and outweigh
the interests of the public and the defendants in a speedy trial. The additional time arising as
a result of the granting of the motions, i.e., the time between October 31, 2005 and January
3, 2006, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason that defendants’ counsel require additional time to
adequately prepare the case. The failure to grant additional time might result in a miscarriage
of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 31st day of October, 2005.
                                                     BY THE COURT:
                                                     s/Thomas D. Thalken
                                                     United States Magistrate Judge
